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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------X
CANDICE McCrary,                                                             No. 24-cv-08054

             Plaintiff,

SEAN COMBS, DADDY’S HOUSE RECORDINGS INC.,
CE OPCO, LLC d/b/a COMBS GLOBAL f/k/a COMBS
ENTERPRISES LLC, BAD BOY ENTERTAINMENT HOLDINGS,
INC., BAD BOY PRODUCTIONS HOLDINGS, INC., BAD BOY
BOOKS HOLDINGS, INC., BAD BOY RECORDS LLC, BAD BOY
ENTERTAINMENT LLC, BAD BOY PRODUCTIONS LLC,
MARRIOTT INTERNATIONAL, INC and
ORGANIZATIONAL DOES 1-10,

                  Defendants.
-------------------------------------------------------X

                NOTICE OF MOTION TO WITHDRAW APPEARENCE

        PLEASE TAKE NOTICE that pursuant to Local Civil Rule 1.4(b), Anthony Buzbee, an

attorney for Plaintiff in the above-captioned action, hereby moves to withdraw his appearance as

an attorney of record until such time as he is admitted to practice in this Honorable District.

Plaintiff will continue to be represented by remaining counsel of record from Curis Law.



Dated: March 20, 2025                                        Respectfully Submitted,

                                                             /s/ Anthony G. Buzbee
                                                             Anthony G. Buzbee
                                                             The Buzbee Law Firm
                                                             J.P. Morgan Chase Tower 600 Travis,
                                                             Suite 7500
                                                             Houston, Texas 77002
                                                             Telephone: (713) 223-5393
                                                             Facsimile: (713) 223-5909
                                                             Attorneys for Plaintiff John Doe
